     Case 19-41808-btf13                      Doc 46
 Fill in this information to identify the case:
                                                           Filed 01/22/20 Entered 01/22/20 16:16:45                         Desc Main
                                                          Document      Page 1 of 5
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Carl Joe Jett
                       __________________________________________________________________

 Debtor 2               Debra   Kay Jett fka Debra Evans
                        ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Western District
                                         __________       of Missouri
                                                      District of __________

 Case number            19-41808
                        ___________________________________________




2IILFLDO)RUP 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                   U.S. Bank Trust, N.A., as Trustee of the
                   Igloo Series III Trust
 Name of creditor: _______________________________________                                 Court claim no. (if known): 6
                                                                                                                       __________________

 Last 4 digits of any number you use to
                                                          
                                                          ____ ____ ____ ____
 identify the debtor’s account:

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 ✔
       No
       Yes. Date of the last notice: _____________


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                         Dates incurred                                     Amount

  1. Late charges                                                         _________________________________           (1)    $ __________
  2. Non-sufficient funds (NSF) fees                                      _________________________________           (2)    $ __________
  3. Attorney fees                                                        _________________________________           (3)    $ __________
  4. Filing fees and court costs                                          _________________________________           (4)    $ __________
  5. Bankruptcy/Proof of claim fees                                       9/25/2019
                                                                          _________________________________           (5)          300.00
                                                                                                                             $ __________
  6. Appraisal/Broker’s price opinion fees                                _________________________________           (6)    $ __________
  7. Property inspection fees                                             _________________________________           (7)    $ __________
  8. Tax advances (non-escrow)                                            _________________________________           (8)    $ __________
  9. Insurance advances (non-escrow)                                      _________________________________           (9)    $ __________
 10. Property preservation expenses. Specify:_______________              _________________________________          (10)    $ __________
 11. Other.             Plan Review
                 Specify:____________________________________             9/25/2019
                                                                          _________________________________          (11)          350.00
                                                                                                                             $ __________
 12. Other. Specify:____________________________________                  _________________________________          (12)    $ __________
 13. Other. Specify:____________________________________                  _________________________________          (13)    $ __________
 14. Other. Specify:____________________________________                  _________________________________          (14)    $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
    Case 19-41808-btf13                      Doc 46             Filed 01/22/20 Entered 01/22/20 16:16:45                        Desc Main
                                                               Document      Page 2 of 5

Debtor 1     Carl Joe Jett
             _______________________________________________________                                          19-41808
                                                                                          Case number (if known) _____________________________________
             First Name       Middle Name              Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  ✔ I am the creditor’s authorized agent.
  

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            8 V Christopher K. Baxter
                 __________________________________________________
                 Signature
                                                                                          Date    01/22/2020
                                                                                                  ___________________




 Print:          Christopher K. Baxter
                 _________________________________________________________                Title   Attorney
                                                                                                  ___________________________
                 First Name                      Middle Name       Last Name



 Company          Marinosci Law Group
                 _________________________________________________________



 Address          14643 Dallas Parkway, Suite 750
                 _________________________________________________________
                 Number                 Street
                  Dallas                          TX      75254
                 ___________________________________________________
                 City                                              State       ZIP Code




 Contact phone    214-331-2300
                 _______________________                                                         TXBK@mlg-defaultlaw.com
                                                                                          Email ________________________BBBBBBBB




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                               page 2
Case 19-41808-btf13       Doc 46    Filed 01/22/20 Entered 01/22/20 16:16:45              Desc Main
                                   Document      Page 3 of 5

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                                                                        January 22, 2020




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              Case 19-41808-btf13         Doc 46    Filed 01/22/20           Entered 01/22/20 16:16:45      Desc Main
Label Matrix for local noticing               Missouri Department of Revenue
                                                   Document           Page 4 of 5            Ally Financial
0866-4                                        Bankruptcy Unit                                PO Box 130424
Case 19-41808-btf13                           P.O Box 475                                    Saint Paul MN 55113-0004
Western District of Missouri                  Jefferson City, MO 65105-0475
Kansas City
Wed Jan 22 10:15:25 CST 2020
(p)BANK OF AMERICA                            Bank of America                                Bank of America, N.A.
PO BOX 982238                                 PO Box 982284                                  P O Box 982284
EL PASO TX 79998-2238                         El Paso TX 79998-2284                          El Paso, TX 79998-2284



Bank of the West                              Bright Lending                                 Cashnet USA
2527 Camino Ramon                             PO Box 578                                     175 West Jackson
San Ramon CA 94583-4213                       Hays MT 59527-0578                             Suite 100
                                                                                             Chicago IL 60604-2615


Cashnet USA                                   Cavalry Investments, LLC                       Chase
PO Box 206739                                 500 Summit Lake Drive, Ste 400                 PO Box 15298
Dallas TX 75320-0673                          Valhalla, NY 10595-2321                        Wilmington DE 19850-5298



Credit Collection Services                    Credit One Bank                                FEDERAL NATIONAL MORTGAGE ASSOCIATION
Two Wells Avenue                              PO Box 98872                                   C/O SETERUS INC
Newton Center MA 02459-3246                   Las Vegas NV 89193-8872                        PO Box 1047
                                                                                             Hartford CT 06143-1047


Integra Credit                                LVNV Funding, LLC                              PRA Receivables Management LLC
200 W Jackson Blvd Ste 500                    Resurgent Capital Services                     agent of Portfolio Recovery Associates
Chicago IL 60606-6949                         PO Box 10587                                   POB 41067
                                              Greenville, SC 29603-0587                      Norfolk VA 23541-1067


(p)PORTFOLIO RECOVERY ASSOCIATES LLC          SPEEDYRAPID CASH                               Simple fast
PO BOX 41067                                  P.O. BOX 780408                                8601 Dunwoody Place
NORFOLK VA 23541-1067                         WICHITA, KS 67278-0408                         Ste. 406
                                                                                             Atlanta GA 30350-2550


SimpliFast Lending                            Southlaw, P.C.                                 Speedy Cash
4312 Rainbow Blvd                             6363 College Blvd, Suite 100                   11221 East 23rd St S
Kansas City KS 66103-3425                     Leawood KS 66211-1881                          Independence MO 64052-3623



(p)T MOBILE                                   The Village Apartments                         U.S. Bank Trust, N.A.
C O AMERICAN INFOSOURCE LP                    8239 Forest Ave                                c/o BSI Financial Services
4515 N SANTA FE AVE                           Kansas City MO 64131-2492                      1425 Greenway Drive, Suite 400
OKLAHOMA CITY OK 73118-7901                                                                  Irving, TX 75038-2480


US BK NATL ASS’N AT OF THE IGLOO SERIES       Vacation Village at Weston                     Xfinity
III Trust c/o BSI FInancial Services          16461 Racquet Club Road                        PO Box 35170
1425 Greenway Drive, Ste 400                  Fort Lauderdale FL 33326-3131                  Seattle WA 98124-5170
Irving TX 75038-2480
              Case 19-41808-btf13             Doc 46       Filed 01/22/20        Entered 01/22/20 16:16:45               Desc Main
Zin Resolve                                         Carl Document
                                                         Joe Jett           Page 5 of 5                  Debra Kay Jett
4720 E. Cotton Gin Loop                             108 E College St                                     108 E College St
Ste. 135                                            Independence, MO 64050-2912                          Independence, MO 64050-2912
Phoenix AZ 85040-8850


Richard Fink                                        Ryan A. Blay
Suite 1200                                          Wm Law
2345 Grand Blvd.                                    15095 W 116th St.
Kansas City, MO 64108-0001                          Olathe, KS 66062-1098




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                     (d)Bank of America                                   Portfolio Recovery Associates, LLC
PO Box 982235                                       PO Box 982238                                        POB 41067
El Paso TX 79998-0000                               El Paso TX 79998-0000                                Norfolk VA 23541



T-Mobile
POBox 742596
Cincinnati OH 45274-0000




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Cavalry Investments, LLC                         End of Label Matrix
500 Summit Lake Drive, Suite 400                    Mailable recipients     34
Valhalla NY 10595-2321                              Bypassed recipients      1
                                                    Total                   35
